   1   Russell Brown
       CHAPTER 13 TRUSTEE
   2
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   3   3838 North Central Avenue
       Phoenix, Arizona 85012-1965
   4   602.277.8996
   5
   6                              UNITED STATES BANKRUPTCY COURT

   7                                        DISTRICT OF ARIZONA
   8
        In re                                               Chapter 13
   9
        ADAM J MCQUILLIAM,                                  Case No. 2-21-bk-08369-EPB
  10
  11                                                        TRUSTEE’S RECOMMENDATION
        Debtor.
  12                                                        Deadline is March 1, 2022
  13
                The Trustee has reviewed the Plan, Schedules, and Statement of Financial Affairs.
  14
                Subject to the resolution of the following issues, the Plan will meet Code requirements and
  15
       the Trustee will recommend confirmation:
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  17            (1) The secured debt to be paid to Westlake Services, LLC is $15,463.33 as stated in the

  18   creditor’s proof of claim, to be paid at the rate of 5.25% interest as stated in the Plan.
  19
                (2) The proof of claim filed by the Internal Revenue Service indicates that the Debtor has
  20
       not filed his 2016 and 2017 income tax returns. The Trustee cannot recommend confirmation until
  21
       the tax returns are filed and the Internal Revenue Service amends its proof of claim.
  22
  23            (3) The priority debt to be paid to the Arizona Department of Revenue is $789.43 as stated

  24   in the creditor’s proof of claim.
  25            (4) The proof of claim filed by Conn Appliances, Inc. is not provided for by the Plan. The
  26
       Debtor must resolve the discrepancy before the Trustee recommends confirmation of the Plan. As
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       to each claim, the Trustee requires that the Debtor: (a) file an objection to the claim (if the debt is
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   1   believed to be unsecured); (b) notify the Trustee in writing that the claim issue has been resolved
   2
       and the holder of the claim will endorse the order confirming the Plan; © notify the Trustee in
   3
       writing that the order confirming the Plan will provide for full payment of the claim; or (d) timely
   4
       file an amended Plan to provide for some or all payment on the claim. If resolution of the claim
   5
   6   changes Plan funding requirements, the Trustee requires the receipt of an amended Plan analysis

   7   (Local Form 13-2) with any proposed Order confirming the Plan. If one or more objections to the
   8
       proofs of claim is timely filed by the Debtor(s), then the time to submit a proposed Order confirming
   9
       the Plan to the Trustee is extended by 15 days after substantive completion of the last objection.
  10
              (5) The housing expense listed on Schedule J exceeds the Trustee’s Guidelines by $687.00
  11
  12   per month. The Debtor must provide a copy of the lease agreement to verify monthly payments of

  13   $3,265.00.
  14          (6) The Trustee renews his request for a completed Self Employment Questionnaire.
  15
              (7) A self-employed debtor is required to file monthly Business Operating Statements with
  16
       the Court. Statements for November 2021 through January 2022 must be filed with the Court not
  17
  18   later than March 14, 2022. The Debtor is reminded that this is a monthly filing requirement and each

  19   Statement must be filed by the 15th day of each following month.

  20          (8) Trustee requests a copy of the 2020 federal and state income tax returns, along with all
  21
       attachments, forms, schedules and statements. The debtor is to provide the returns to Counsel and
  22
       Debtor’s counsel is to provide the returns to the Trustee through www.13documents.com.
  23
              (9) Upon filing the Debtor must submit a copy of the 2021 federal and state income tax
  24
  25   returns, along with all attachments, forms, schedules and statements to his attorney. In addition, the

  26   Trustee requires the turnover of any net nonexempt tax refunds for 2021 as supplemental payments
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  28                                                   -2-


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   1   to be paid first to unsecured, priority claims, and then to unsecured, nonpriority claims. The Order
   2
       confirming must include a provision regarding the turnover of the nonexempt tax refunds.
   3
              (10) Other requirements:
   4
              (A) When a debtor is represented by counsel, all debtor documents are to be submitted to the
   5
   6   Trustee through the 13documents.com website after redaction of PII. Local Rule 2084-27. Such

   7   documents include tax returns, bank statements, paystubs, and so on.
   8          (B) The attorney is to review all proofs of claim on the claims register and resolve any
   9
       discrepancies between relevant claims and the Plan prior to submitting any proposed Order
  10
       Confirming Plan to the Trustee. Also, when counsel provides a proposed order confirming plan to
  11
  12   the Trustee, counsel must file or create a notice on the Court docket. L.R.B.P. 2084-13(b).

  13          © Requests by the Trustee for documents and information are not superseded by the filing

  14   of an amended plan or motion for moratorium.
  15
              (D) The Trustee will object to any reduction in the Plan duration or payout in a proposed
  16
       Order Confirming Plan unless an amended or modified plan is filed and noticed out.
  17
              (E) The Trustee requires that any proposed Order Confirming Plan state: “The Plan and this
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  19   Order shall not constitute an informal proof of claim for any creditor.”

  20          (F) To expedite the order review process, counsel must use the recommended form for the
  21
       order confirming plan. If counsel needs the Trustee’s latest form, then contact the applicable case
  22
       administrator..
  23
              (G) The order confirming plan must be accompanied by a cover letter that goes over the
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  25   Trustee’s Recommendation items by each paragraph. If counsel fails to use the order form and

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  28                                                  -3-


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   1   provide such letter, the Trustee will reject the proposed order outright and the time to comply with
   2
       the Recommendation is not extended.
   3
              (H) The order confirming plan is to state: Within 14 days of filing them, the Debtors shall
   4
       provide a copy of their 2021 - 2025 federal and state income tax returns, including all attachments,
   5
   6   forms, schedules and statements, to their attorney. After appropriate redaction of PII, Debtors’

   7   attorney is to promptly provide the returns to the Trustee through the website
   8   www.13documents.com.
   9
              (I) Nothing in the Plan or Order Confirming Plan is to alter counsel’s obligation to represent
  10
       the Debtors. Counsel is to represent the Debtor(s) in all matters regardless of the fee agreement until
  11
  12   the Court issues an order permitting counsel to withdraw or the case is closed.

  13          (J) According to Paragraph II.H.3. of the “Administrative Procedures for Electronically Filed

  14   Cases,” as governed by Local Rule 5005-2(e), the Debtors’ attorney is to retain the original
  15
       signatures of all signatories to the Stipulated Order Confirming Plan (other than that of the Trustee).
  16
       Pursuant to Local Rule 2084-13©, the Trustee will upload the proposed Order Confirming a plan
  17
       or granting a motion for a moratorium.
  18
  19          (K) The proposed order confirming plan, any responses to this recommendation, and

  20   documents submitted in response to this recommendation are to be submitted to the applicable case
  21
       administrator in the Trustee’s office.
  22
              SUMMARY: Pursuant to Local Rule 2084-10(b), by March 1, 2022, Debtor is to resolve all
  23
       of the above issues and provide the Trustee with a proposed order confirming plan that meets the
  24
  25   above requirements, or the Debtor must file an objection to the Recommendation and obtain a

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  28                                                    -4-


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   1   hearing date. If neither is accomplished, then the Trustee could file a notice of intent to lodge a
   2
       dismissal order.
                                                                                   Russell Brown
   3
                                                                                   2022.02.10 16:15:04
   4   Copy mailed or emailed to:                                                  -07'00'
   5   ADAM J MCQUILLIAM
   6   9361 WEST DALEY LANE
       PEORIA, AZ 85383
   7   ADAMMCQUILLIAM@YMAIL.COM
   8   BENJAMIN WRIGHT
   9   WRIGHT LAW OFFICES, PLC
       2999 N. 44TH ST., SUITE 250
  10   PHOENIX, AZ 85018
       BWRIGHT@WLOAZ.COM
  11
  12
                          Digitally signed by
  13                      Jessica Morales
                          Date: 2022.02.11
                          15:00:11 -07'00'
  14   _________________________________
       jmorales@ch13bk.com
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